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17
                         IN THE UNITED STATES DISTRICT COURT
18
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and             )
22      CERCACOR LABORATORIES, INC.,            ) PLAINTIFFS’ OBJECTIONS TO
        a Delaware corporation                  ) SPECIAL MASTER ORDER DATED
23                                              ) OCTOBER 24, 2022
                     Plaintiffs,                )
24                                              ) Date:        December 5, 2022
               v.                               ) Time:        1:30 p.m.
25                                              ) Location: Courtroom 10C
        APPLE INC., a California corporation    )
26                                              )
                     Defendant.                 ) REDACTED VERSION
27                                              ) OF DOCUMENT PROPOSED TO BE
                                                ) SUBMITTED UNDER SEAL
28                                              )
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1                                              I. INTRODUCTION
2                Masimo respectfully requests the Court sustain Masimo’s objections to the
3       Special Master’s October 24 Order, which would require Masimo to produce three
4       privileged presentations that Masimo created exclusively for the purpose of seeking
5       legal advice from outside counsel. If the Court would find it helpful, Masimo requests
6       the opportunity to submit for in camera review potentially privileged descriptions of the
7       legal advice sought by the presentations. Those descriptions would further confirm
8       Masimo’s claim of privilege. Masimo requested the opportunity to do so earlier, but the
9       Special Master denied Masimo’s request.
10                                             II. BACKGROUND
11               Apple asked the Special Master to compel production or conduct in camera
12      review of four documents (three presentations and one email)1 that Masimo
13      inadvertently produced and promptly clawed back pursuant to the Protective Order.
14      Ex. A-4. Masimo opposed because the documents are privileged and Masimo diligently
15      clawed back the documents when Masimo discovered the inadvertent production.
16      Ex. A-5. The Special Master held oral argument on October 3, 2022. Ex. A-3.
17               Masimo argued that the presentations were created for the purpose of seeking
18      legal advice from counsel. A-5 at 2; Katz. Decl. ¶ 4.2 During the hearing, Masimo
19      offered to submit additional and likely privileged evidence, including attorney
20      declarations describing in more detail the legal advice sought, which would confirm and
21      corroborate Masimo’s claim of privilege. Katz Decl. ¶ 5.
22
23
        1
            The email is no longer at issue.
24
25
                                               The parties have since agreed that voluntary
26      production of the email would not be a waiver. Thus, Masimo produced it.
27
        2
         The hearing on this issue was not transcribed. Ex. A-3 at 4:10-14. Accordingly,
28      Masimo cites to a declaration from the Masimo attorney who argued this issue.

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2                                                                    Id. Masimo requested that,
3       if the Special Master were inclined to conduct in camera review of the documents, the
4       Special Master allow Masimo to submit additional potentially privileged supporting
5       evidence for in camera review. Id. In camera review was necessary to avoid Masimo
6       having to reveal privileged information to establish Masimo’s claim of privilege.
7             The Special Master issued Discovery Order No. 16. Ex. A-1. The Special Master
8       rejected Apple’s argument that Masimo waived privilege by clawing the documents
9       back less than three weeks after Apple cited them in an interrogatory response. Id. at 6.
10      Apple did not object to the Special Master’s finding of no waiver, and that finding is
11      now final. See Dkt. 965 (Apple objecting to other aspects of Order No. 16).
12            The Special Master also ordered Masimo to submit the disputed documents for in
13      camera review. Ex. A-1 at 7. The Order stated:
14            Although Plaintiffs request an opportunity to now submit additional
15            evidence in support of their claim, the Special Master finds only that in
              camera production of copies of the documents themselves is warranted at
16            this time, and will rely on the information already in the record through
17            statements in briefs and at oral argument in evaluating Plaintiffs’ privilege
              claims.
18
19      Id. at 7 (emphases added). Masimo timely submitted copies of the disputed documents
20      to the Special Master. Ex. A-2 at 2. Masimo understood that, if the Special Master had
21      any doubt about Masimo’s claims of privilege, the Special Master would allow Masimo
22      to submit the proffered privileged evidence.
23            Without allowing Masimo to submit the proffered evidence, the Special Master
24      found that Masimo had failed to meet its burden to show the documents are privileged.
25      Id. The Special Master found “insufficient basis in the record to support Plaintiff’s
26      contention that the presentations indeed related to legal advice sought as opposed to
27      general business strategy advice.” Id. (emphasis added)
28      ///

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1                                     III. LEGAL STANDARD
2       A.    This Court’s Review Is De Novo
3             In considering objections to a special master’s order, “[t]he court must decide de
4       novo all objections to findings of fact made or recommended by a master.” Fed. R. Civ.
5       P. 53(f)(3); Dkt. 470 at 4 (“The Court must decide de novo all objections to findings of
6       fact.”). Similarly, “[t]he court must decide de novo all objections to conclusions of law
7       made or recommended by a master.” Fed. R. Civ. P. 53(f)(4); Dkt. 470 at 4 (“The Court
8       must decide de novo all objections to conclusions of law.”).
9       B.    Privilege Generally
10            Communications “that reflect matters about which the client intends to seek legal
11      advice are protected” by attorney-client privilege. United States v. ChevronTexaco
12      Corp., 241 F. Supp. 2d 1065, 1077 (N.D. Cal. 2002). The privilege may reach even to
13      “communication between nonlegal employees in which the employees discuss or
14      transmit legal advice given by counsel[.]” Id.; AT&T Corp. v. Microsoft Corp., 2003
15      WL 21212614, at *3 (N.D. Cal. Apr. 18, 2003) (“Communications between non-lawyer
16      employees about matters which the parties intend to seek legal advice are likewise
17      cloaked by attorney-client privilege.”).    “As long as the legal implications were
18      understood at the beginning at [sic, of] the inquiry and the communications were covered
19      by a veil of confidentiality, then the privilege attaches.” AT&T Corp., 2003 WL
20      21212614, at *3; see Upjohn v. U.S., 449 U.S. 383, 394–395 (1981). “‘What is vital to
21      the privilege is that the communication be made in confidence for the purpose of
22      obtaining legal advice from the lawyer.’” United States v. Gurtner, 474 F.2d 297, 298
23      (9th Cir. 1973) (quoting United States v. Kovel, 296 F.2d 918, 922 (2d Cir. 1961)).
24      C.    Documents Created To Seek Legal Advice Are Privileged
25            Documents “fall within the scope of the attorney-client privilege” as long as it can
26      be demonstrated that the author was aware that the purpose “to which the
27      communication related was being conducted for the purposes of obtaining legal advice
28      and that the document was being created to advance that purpose.” Lewis v. Wells Fargo

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1       & Co., 266 F.R.D. 433, 445 (N.D. Cal. 2010).           Even if the subject matter of a
2       communication also relates to a “business purposes” or “the legal advice is used to steer
3       business decisions,” documents are privileged if they “were intended and then used for
4       a legal purpose.” Polaris Innovations Ltd. v. Kingston Tech. Co., Inc., 2017 WL
5       8220457, at *5-6 (C.D. Cal. June 16, 2017) (finding documents privileged based on
6       supporting declarations where the privilege log was insufficient to establish privilege).
7       D.    Courts Allow Submission of In Camera Evidence To Establish Privilege
8             The Ninth Circuit has observed that, “[e]laborating the basis for the claim of
9       privilege through in camera submissions is unexceptionable.” Kasza v. Browner, 133
10      F.3d 1159, 1169 (9th Cir. 1998) (affirming assertion of privilege). District courts allow
11      parties to submit evidence establishing privilege in camera, even after in camera review
12      of the documents has been ordered, particularly for documents that do not appear to be
13      privileged on their face. Illumina Inc. v. BGI Genomics Co., 2021 WL 2662074, at *3
14      (N.D. Cal. June 29, 2021) (“[o]nce the Court ordered in camera review, there was
15      nothing wrong with Defendants further explaining the basis for their claim of privilege,
16      in particular for documents where the claim of privilege is not obvious on its face”).
17            Another court observed a “lack of any obvious indicia of privilege . . . led the
18      court to seek more information by permitting defendants an opportunity to support the
19      assertion of privilege by submitting a declaration.” In re 3 Com Corp. Sec. Litig., 1992
20      WL 456813, at *1 (N.D. Cal. Dec. 10, 1992) (allowing declaration to be “filed under
21      seal, not to be viewed by plaintiffs absent court order” but ultimately finding no legal
22      advice sought or provided); see also Reinsdorf v. Skechers U.S.A., Inc., 2013 WL
23      12116416, at *7 (C.D. Cal. Sept. 9, 2013) (declaration supplying sufficient information
24      to evaluate claim of privilege mooted argument that privilege was waived by delayed
25      production of privilege log). Another court similarly held “an ex parte proceeding was
26      necessary to determine whether the documents were privileged without destroying the
27      very privilege that the Court was charged with protecting, if applicable.” Pack v. Beyer,
28      157 F.R.D. 226, 230 (D.N.J. 1994).

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1                                         IV. ARGUMENT
2       A.    The Three Presentations Are Privileged Because They Sought Legal Advice
3             1.     The Two Versions of the 2018 Presentation are Privileged
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8                              That is why two versions of the presentation were inadvertently
9       produced among the millions of pages of discovery Masimo produced in this case.
10      Masimo promptly clawed back the presentations after determining they were created
11      exclusively for the purpose of seeking legal advice regarding a potential new product.
12      Ex. A-7 ¶¶ 3-5.
13
14                                                 The pages discussing specific patents present
15      particularly strong arguments in support of finding they were privileged
16      communications seeking legal advice. See Lewis, 266 F.R.D. at 445 (documents are
17      privileged if they “were intended and then used for a legal purpose”); Polaris, 2017 WL
18      8220457, at *5-6.
19
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23                                                                   Accordingly, Mr. Kesler’s
24      declaration sets forth his recollection of why the presentation was created, the meeting
25      at which it was discussed, as well as the legal advice that was sought and later provided.
26      This detailed description arguably reveals privileged information. Masimo offered to
27      allow Apple to review the declaration so long as Apple agreed that doing so was not a
28      waiver and Apple would use the declaration only in connection with this dispute. Ex.

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1       A-8 at 1. Apple refused. Id. Accordingly, Masimo submits a version of Mr. Kesler’s
2       declaration that redacts privileged material. See Kesler Decl. ¶¶ 4-6. Even with the
3       redactions, the declaration establishes that the presentation is privileged because it was
4       created for the purpose of seeking legal advice and was communicated to counsel for the
5       purpose of seeking legal advice. See Polaris, 2017 WL 8220457, at *5-6; Lewis, 266
6       F.R.D. at 445.
7             If the Court has any doubt as to the privileged nature of the 2018 presentations,
8       Masimo respectfully requests permission to submit the unredacted Kesler declaration
9       for in camera review.
10            2.     The 2019 Presentation Is Privileged
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17                                                                                           That
18      is why it was inadvertently produced among the millions of pages of discovery Masimo
19      produced in this case. Masimo promptly clawed back the document after determining it
20      was created exclusively for the purpose of seeking legal advice regarding a potential
21      new product. Ex. A-7 ¶¶ 3-5.
22
23
24
25                          The pages discussing specific patents present particularly strong
26      arguments in support of finding they were privileged communications seeking legal
27      advice. See Lewis, 266 F.R.D. at 445; Polaris, 2017 WL 8220457, at *5-6.
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4          Mr. Telfort’s declaration provides his recollection of why he created the
5    presentation, the meeting at which it was discussed, as well as the legal advice that was
6    sought and later provided. Telfort Decl. ¶ 2-5. As with the Kesler declaration, Masimo
7    offered to allow Apple to review the declaration so long as Apple agreed that doing so
8    was not a waiver and Apple would use the declaration only in connection with this
9    dispute. Ex. A-8 at 1. Apple refused. Id. Accordingly, Masimo submits a version of
10   Mr. Telfort’s declaration that redacts privileged material. See Telfort Decl., ¶ 5. Even
11   with the redactions, the declaration establishes that the presentation is privileged because
12   it was created for the purpose of seeking legal advice and was communicated to counsel
13   for the purpose of seeking legal advice. See Polaris, 2017 WL 8220457, at *5-6; Lewis,
14   266 F.R.D. at 445.
15         If the Court has any doubt as to the privileged nature of the 2019 presentation,
16   Masimo requests permission to submit Mr. Telfort’s unredacted declaration for in
17   camera review.
18   B.    The Special Master Did Not Give Masimo A Full And Fair Opportunity To
19         Defend Its Privilege Claims
20         Masimo respectfully submits that the Special Master did not allow Masimo the
21   opportunity to fully explain and corroborate Masimo’s claim of privilege. The referral
22   order to the Special Master did not mention the possibility of in camera submission of
23   declarations. See Dkt. 470. Masimo reasonably (albeit incorrectly) believed the Special
24   Master’s reference to “at this time” indicated that Masimo would be able to submit
25   additional supporting evidence if the Special Master found the proffer of Masimo’s
26   counsel insufficient. Ex. A-1 at 7 (“the Special Master finds only that in camera
27   production of copies of the documents themselves is warranted at this time” (emphasis
28   added)). This Court and the Special Master have consistently reminded the parties

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1    during this case that counsel are expected to act as Officers of the Court and, as such,
2    their representations are presumed to be accurate unless proven otherwise.
3          Masimo presented as much detail as it believed it could without risking revealing
4    privileged information. Katz. Decl. ¶ 7. By simultaneously denying Masimo’s request
5    to submit additional evidence in camera, and finding that Masimo had not met its burden
6    to establish privilege, the Special Master presented Masimo with a Hobson’s choice. If
7    Masimo had presented more detailed evidence, Apple may have argued Masimo waived
8    privilege regarding the very subject matter Masimo sought to protect.
9          The Special Master’s Order Dated October 24, 2022, states that he could not tell
10   from the face of the documents whether the communication was legal in nature or not.
11   Masimo made exactly that argument during the hearing. Katz. Decl. ¶ 8. Masimo
12   explained that the text of the documents was consistent with, but did not establish,
13   Masimo’s claims of privilege. Id. Masimo made a proffer as to the basis for privilege
14   and offered to provide a supporting declaration. Id. Yet the Special Master ordered
15   those documents to be produced rather than permit evidence and argument from Masimo
16   on a confidential basis (the only meaningful way to articulate the basis for the privilege).
17   The Special Master’s statement that he would review the information provided at the
18   hearing may have been impeded by the lack of a written transcript to review.
19         This Court should find the documents are privileged on the present record, or
20   allow Masimo to submit the additional in camera explanation Masimo repeatedly tried
21   to present. The Court should not affirm an order that did not allow Masimo to submit
22   the very evidence that the order found lacking.
23                                      V. CONCLUSION
24         For the reasons set forth above, Masimo respectfully requests that the Court
25   sustain Masimo’s objections to Special Master’s Order Dated October 24, 2022.
26   Alternatively, Masimo requests that the Court at least allow Masimo to submit
27   unredacted copies of the Kesler and Telfort Declarations to substantiate its claims of
28   privilege.

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